     Case 2:02-cr-00468-MCE-CMK Document 645 Filed 01/25/08 Page 1 of 2


                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                MEMORANDUM


Honorable Morrison C. England, Jr.
United States District Judge
Sacramento, California

                                        RE:   N. Allen SAWYER
                                              Docket Number: 2:02CR00468-04
                                              PERMISSION TO TRAVEL
                                              OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Hong Kong, China. He is current with
all supervision obligations, and he completed his term of home detention on August 24,
2006. The probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 7, 2005, the releasee was sentenced for the
offense of 18 USC 1341 and 1346 - Honest Services Mail Fraud.


Sentence Imposed: 6 months custody of the Bureau of Prisons; 36 months Supervised
Release; $100 Special Assessment; $20,000 Fine. Special Conditions: Warrantless
search; Financial access; No new debt/credit; Home confinement with electronic
monitoring; Not to dispose of assets without approval from probation officer.


Dates and Mode of Travel: February 1, 2008, with a return flight date of February 16,
2008, via Cathay Pacific Airways in San Francisco, California.


Purpose: Releasee is to attend a business meeting to finalize the (contract) terms of a
development project.




                                                                                                       R ev. 05/2006
                                          1           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
      Case 2:02-cr-00468-MCE-CMK Document 645 Filed 01/25/08 Page 2 of 2


RE:    N. Allen SAWYER
       Docket Number: 2:02CR00468-04
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                               Respectfully Submitted,


                                /s/ George A. Vidales
                               GEORGE A. VIDALES
                           United States Probation Officer

DATED:       January 16, 2008
             Elk Grove, California
             GAV/cj


REVIEWED BY:         /s/ Deborah A. Spencer
                   DEBORAH A. SPENCER
                   Supervising United States Probation Officer



ORDER OF THE COURT:

Approved XXX                                 Disapproved


Dated: January 25, 2008


                                       ______________________________
                                       MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE




                                                                                                      R ev. 05/2006
                                         2           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
